                                Case:23-01005-jwb                Doc #:1 Filed: 04/28/2023                    Page 1 of 65


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Turbo Components, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14680 Apple Drive
                                  Fruitport, MI 49415
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ottawa                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                Case:23-01005-jwb                   Doc #:1 Filed: 04/28/2023                        Page 2 of 65
Debtor    Turbo Components, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                  Case:23-01005-jwb                      Doc #:1 Filed: 04/28/2023                      Page 3 of 65
Debtor    Turbo Components, Inc.                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                         Case:23-01005-jwb             Doc #:1 Filed: 04/28/2023                  Page 4 of 65
Debtor   Turbo Components, Inc.                                                     Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                Case:23-01005-jwb                Doc #:1 Filed: 04/28/2023                       Page 5 of 65
Debtor    Turbo Components, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 28, 2023
                                                  MM / DD / YYYY


                             X   /s/ Brad Fortenbacher                                                    Brad Fortenbacher
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ A. Todd Almassian                                                     Date April 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 A. Todd Almassian P55467
                                 Printed name

                                 Keller & Almassian, PLC
                                 Firm name

                                 230 East Fulton
                                 Grand Rapids, MI 49503
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     616-364-2100                  Email address      ecf@kalawgr.com

                                 P55467 MI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Turbo Components, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 28, 2023                  X /s/ Brad Fortenbacher
                                                           Signature of individual signing on behalf of debtor

                                                            Brad Fortenbacher
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                Case:23-01005-jwb                 Doc #:1 Filed: 04/28/2023                          Page 7 of 65


 Fill in this information to identify the case:
 Debtor name Turbo Components, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                MICHIGAN
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Grow Michigan, LLC        James E. Morgan,          Security                                              $863,087.22            $1,462,223.00                $798,097.22
 c/o Randy Long            Esq.                      Agreement
 Two Lone Pine
 Road                      jem@h2law.com
 Bloomfield Hills, MI      (248) 645-1483
 48304
 Beck Aluminum             Jean R. Robertson, Supplier                                                                                                         $613,664.98
 International             Esq.
 6150 Parkland Blvd
 Suite 260                 Jean@beckalum.co
 Cleveland, OH 44124       m
                           (440) 684-4848
 Internal Revenue          Internal Revenue Federal                                                                                                            $515,484.31
 Service                   Service          Withholding and
 PO Box 7346                                FICA
 Centralized
 Insolvency
 Philadelphia, PA
 19101-7346
 BorgWarner Turbo          Dennis W.                 Customer,                                             $593,386.66            $1,462,223.00                $301,371.57
 Systems, LLC              Loughlin, Esq.            Mortgage Holder,
 c/o Dennis W.                                       Security
 Loughlin, Esq.            dloughlin@wnj.co          Agreement
 Warner Norcross &         m
 Judd LLP                  (313) 546-6186
 2715 Woodward
 Ave, Ste. 300
 Detroit, MI 48201
 State of Michigan         State of Michigan         Michigan                                                                                                  $134,771.08
 Dept. of Treasury                                   Withholding
 PO Box 30754
 Lansing, MI 48909
 Aalberts Surface          Aalberts Surface          Services                                                                                                    $27,770.85
 Technologies              Tehcnologies
 200 Wedcor Avenue
 Wabash, IN 46992
                           (888) 747-2533


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                Case:23-01005-jwb                 Doc #:1 Filed: 04/28/2023                          Page 8 of 65



 Debtor    Turbo Components, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Production Tool           Production Tool           Supplier                                                                                                    $24,589.72
 Supply                    Supply
 4782- 44th Street SE
 Grand Rapids, MI
 49512                     (616) 956-6353
 HA International,         HA International,         Supplier                                                                                                    $19,613.30
 LLC                       LLC
 PO Box 5164
 Carol Stream, IL
 60197                     (630) 575-5700
 Priority Health           Priority Health           Group Insurance                                                                                             $16,586.05
 3915 Momentum                                       Plan
 Place
 Chicago, IL 60689
 Resource Recovery         Resource Recovery Services                                                                                                            $13,116.78
 Corporation               Corporation
 15220 68th Ave
 Coopersville, MI
 49404                     (616) 837-1885
 Dkyehouse                 Dkyehouse                 Supplier                                                                                                    $11,606.00
 Company                   Company
 18438 171st Ave
 Spring Lake, MI
 49456                     (616) 842-3591
 Motio Business            Eric Woiteshek            Services                                                                                                    $11,353.48
 Technology
 22 South Harbor
 Drive                     (616) 935-7720
 Suite 103
 Grand Haven, MI
 49417
 McDanel Advance           McDanel Advance           Services                                                                                                    $10,286.08
 Ceramics                  Ceramics
 510 Ninth Avenue
 Beaver Falls, PA
 15010                     (724) 843-8300
 Carpenter Brothers,       Carpenter                 Supplier                                                                                                      $8,924.13
 Inc.                      Brothers, Inc.
 PO Box 88113
 Milwaukee, WI
 53288-0113                (800) 558-9244
 MTMIC                     MTMIC                     Insurance                                                                                                     $7,941.00
 PO Box 673911                                       Premiums
 Detroit, MI 48267
                           (248) 488-1172
 Kanthal Thermal                                     Services                                                                                                      $5,787.60
 Process, Inc.
 48941 West Road           (704) 784-3001
 Wixom, MI 48393




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                Case:23-01005-jwb                 Doc #:1 Filed: 04/28/2023                          Page 9 of 65



 Debtor    Turbo Components, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Creative Machine                                    Services                                                                                                      $3,970.54
 Repair, LLC
 3056 Dixie Ave,           (616) 773-9957
 Suite D
 Grandville, MI 49418
 Calvin Meeusen Co.,                                 Services                                                                                                      $3,868.58
 CPA PLLC
 600 S. Beacon Blvd        (616) 846-6210
 Suite 1A
 Grand Haven, MI
 49417
 Norton Packaging                                    Services                                                                                                      $3,717.25
 Corporation
 16859 Hayes Street        (616) 846-2511
 Grand Haven, MI
 49417
 Star Truck Rentals,                                 Services                                                                                                      $3,684.57
 Inc.
 2580 Black Creek          (231) 737-2117
 Road
 Muskegon, MI 49444




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                                       Case:23-01005-jwb                                  Doc #:1 Filed: 04/28/2023                                           Page 10 of 65

 Fill in this information to identify the case:

 Debtor name            Turbo Components, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           570,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,850,069.14

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,420,069.14


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,604,374.79


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           657,160.05

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,385,743.57


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,647,278.41




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                             Case:23-01005-jwb               Doc #:1 Filed: 04/28/2023                       Page 11 of 65

Fill in this information to identify the case:

Debtor name         Turbo Components, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Comerica Bank                                     Checking account                                                              $24,013.72



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $24,013.72
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment
                   Lothamer Tax Resolution
          8.1.     (Terminate Agreement)                                                                                                            $7,500.00




          8.2.     Keller & Almassian, PLC                                                                                                         $12,891.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                               Case:23-01005-jwb              Doc #:1 Filed: 04/28/2023                     Page 12 of 65

Debtor           Turbo Components, Inc.                                                     Case number (If known)
                 Name




          8.3.     Distel Thiede Advisory Services                                                                                     $13,964.92




          8.4.     Deposit on parts from H&R Spring                                                                                     $6,525.00




9.        Total of Part 2.                                                                                                         $40,880.92
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   134,411.23       -                                   0.00 = ....                $134,411.23
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $134,411.23
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials
          Purchase
          Materials/Services                 2/2/2023                               $20,000.00       Recent cost                       $20,000.00



20.       Work in progress
          Metal and Material
          Inventory                          2/2/2023                              $339,460.63       Revenue based                    $339,460.63



21.       Finished goods, including goods held for resale
          Finished goods                     2/2/2023                              $190,000.00       Revenue based                    $190,000.00


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
                             Case:23-01005-jwb                  Doc #:1 Filed: 04/28/2023                Page 13 of 65

Debtor       Turbo Components, Inc.                                                         Case number (If known)
             Name

          Tooling Projects                   2/2/2023                              $74,902.64       Revenue based                     $74,902.64



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                       $624,363.27
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Various desks and work areas; Assorted office
          chairs; Computers; Various filing and storage
          cabinets; Assorted Printers; Fax Machine, Etc.                             $7,500.00      Appraisal                          $7,500.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          One 1/2 rack cabinet enclosure, one rack
          mountable uninterruptible power supply, and
          one rack mountable Microsoft Windows Server
          fault tolerant redunant host server
          (Equipment Lease from Motio Business
          Technology)                                                                     $0.00     Appraisal                               $0.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                           Case:23-01005-jwb                    Doc #:1 Filed: 04/28/2023            Page 14 of 65

Debtor       Turbo Components, Inc.                                                    Case number (If known)
             Name


43.       Total of Part 7.                                                                                                        $7,500.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                         Net book value of        Valuation method used   Current value of
          Include year, make, model, and identification numbers       debtor's interest        for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                               (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2019 International Daycab Tractor
                   VIN 3HSDWTZR0KN403951
                   (Tractor leased from Star Truck Rentals)                          $0.00     Appraisal                               $0.00


          47.2.    2006 Chevy Silverado                                         $2,500.00      Comparable sale                    $2,500.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          One (1) New Green Sand Expert ETA 3000
          Control System
          (Equipment loan with Huntington Bank)                                      $0.00     Appraisal                               $0.00


          (1) 2016 Mitsubishi, Model: FG30N, S/N:
          AF1300058
          (Leased Equipment from Industrial Leasing,
          LLC)                                                                       $0.00     Appraisal                               $0.00


          (1) 2013 Jungheinrich Forklift, Model:
          ETR230-36V, S/N: 2JR3207904
          (Leased Equipment from Industrial Leasing,
          LLC)                                                                       $0.00     Appraisal                               $0.00


          One (1) New Holding Bale Out Furnace
          together with all accessories
          (Equipment loan with Huntington Bank)                                      $0.00     Appraisal                               $0.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 4
                             Case:23-01005-jwb                  Doc #:1 Filed: 04/28/2023                 Page 15 of 65

Debtor       Turbo Components, Inc.                                                      Case number (If known)
             Name

          Machinery and Equipment
          (Appraisal includes limited secured/leased
          property)                                                            $716,400.00           Appraisal                         $716,400.00


          Tooling                                                              $300,000.00           Liquidation                       $300,000.00


          Mattei EM 1000 460/3 Open Air Compressor
          and Great Lakes Air Dryer
          (Leased equipment from Midland Equipment
          Finance)                                                                     $0.00         Appraisal                                   $0.00




51.       Total of Part 8.                                                                                                       $1,018,900.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 14680 Apple Drive
                   Fruitport, MI 49415
                   (Machine Shop)
                   (Expected
                   Transaction Range
                   $470,000-$600,000)           Fee Owner                      $470,000.00           Appraisal                         $470,000.00


          55.2.    0 Apple Drive
                   Fruitport, MI 49415
                   (Vacant Land- 4
                   Acres)
                   (Expected
                   transaction range
                   $100,000-$150,000)           Fee Owner                      $100,000.00           Appraisal                         $100,000.00




56.       Total of Part 9.                                                                                                           $570,000.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 5
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Debtor         Turbo Components, Inc.                                                      Case number (If known)
               Name

           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                          page 6
                                  Case:23-01005-jwb                           Doc #:1 Filed: 04/28/2023                              Page 17 of 65

Debtor          Turbo Components, Inc.                                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $24,013.72

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $40,880.92

82. Accounts receivable. Copy line 12, Part 3.                                                                   $134,411.23

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $624,363.27

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $7,500.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,018,900.00

88. Real property. Copy line 56, Part 9.........................................................................................>                        $570,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,850,069.14            + 91b.              $570,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,420,069.14




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
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Fill in this information to identify the case:

Debtor name         Turbo Components, Inc.

United States Bankruptcy Court for the:           WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      BorgWarner Turbo
2.1                                                                                                                     $593,386.66             $1,462,223.00
      Systems, LLC                                 Describe debtor's property that is subject to a lien
      Creditor's Name                              Real and Personal Property Lien (All Asset)
      c/o Dennis W. Loughlin,
      Esq.
      Warner Norcross & Judd
      LLP
      2715 Woodward Ave, Ste.
      300
      Detroit, MI 48201
      Creditor's mailing address                   Describe the lien
                                                   Second Mortgage and All Asset Lien
                                                   Is the creditor an insider or related party?
      dloughlin@wnj.com                               No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Comerica Bank                                Describe debtor's property that is subject to a lien                 $806,172.22             $1,462,223.00
      Creditor's Name                              All Asset Lien
      39200 Six Mile Road
      MC 7578
      Livonia, MI 48152
      Creditor's mailing address                   Describe the lien
                                                   Line of Credit- UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
                                   Case:23-01005-jwb                  Doc #:1 Filed: 04/28/2023                   Page 19 of 65

Debtor      Turbo Components, Inc.                                                                Case number (if known)
            Name

      2012-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Comerica Bank                               Describe debtor's property that is subject to a lien                     $102,599.85   $1,462,223.00
      Creditor's Name                             Real and Personal Property Lien (All Assets)
      39200 Six Mile Road
      MC 7578
      Livonia, MI 48152
      Creditor's mailing address                  Describe the lien
                                                  First Mortgage and UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2012-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Comerica Bank                               Describe debtor's property that is subject to a lien                       $7,500.00   $1,462,223.00
      Creditor's Name                             Credit Card/All Asset Lien
      99 Monroe Ave
      Suite 1000
      Grand Rapids, MI 49503
      Creditor's mailing address                  Describe the lien
                                                  Cross-collateralized loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2012-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Comerica Bank                               Describe debtor's property that is subject to a lien                      $31,910.98   $1,462,223.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 5
                                   Case:23-01005-jwb                  Doc #:1 Filed: 04/28/2023                   Page 20 of 65

Debtor      Turbo Components, Inc.                                                                Case number (if known)
            Name

      Creditor's Name                             All Asset Lien
      39200 Six Mile Road
      MC 7578
      Livonia, MI 48152
      Creditor's mailing address                  Describe the lien
                                                  Note Payable - UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2012-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Comerica Bank                               Describe debtor's property that is subject to a lien                     $157,024.86   $1,462,223.00
      Creditor's Name                             All Asset Lien
      39200 Six Mile Road
      MC 7578
      Livonia, MI 48152
      Creditor's mailing address                  Describe the lien
                                                  Term Note- UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2012-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Grow Michigan, LLC                          Describe debtor's property that is subject to a lien                     $863,087.22   $1,462,223.00
      Creditor's Name                             All Personal Property Asset Lien
      c/o Randy Long
      Two Lone Pine Road
      Bloomfield Hills, MI 48304
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
      jem@h2law.com                                  No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2020-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 5
                                    Case:23-01005-jwb                  Doc #:1 Filed: 04/28/2023                   Page 21 of 65

Debtor       Turbo Components, Inc.                                                                Case number (if known)
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.8    Huntington Bank                             Describe debtor's property that is subject to a lien                      $13,653.00            $13,653.00
       Creditor's Name                             One (1) New Green Sand Expert ETA 3000
                                                   Control System
       41 S. High Street                           (Chemical Bank UCC Financing Statement)
       Columbus, OH 43215
       Creditor's mailing address                  Describe the lien
                                                   UCC Financing Statement- Equipment Loan
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       6/2019-                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.9    Huntington Bank                             Describe debtor's property that is subject to a lien                      $29,040.00            $29,040.00
       Creditor's Name                             One (1) New Holding Bale Out Furnace
                                                   together with all accessories
                                                   (TCF National Bank UCC Financing
       PO Box 1527                                 Statement)
       Midland, MI 48641
       Creditor's mailing address                  Describe the lien
                                                   UCC Financing Statement- Equipment Loan
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2019-                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $2,604,374.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       9

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 5
                            Case:23-01005-jwb                    Doc #:1 Filed: 04/28/2023                        Page 22 of 65

Debtor     Turbo Components, Inc.                                                              Case number (if known)
           Name

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Comerica Bank
       c/o Dan Kubiak, Esq.                                                                              Line   2.2
       900 Monroe Ave NW
       Grand Rapids, MI 49503

       Comerica Bank
       c/o Dan Kubiak, Esq.                                                                              Line   2.3
       900 Monroe Ave NW
       Grand Rapids, MI 49503

       Comerica Bank
       c/o Dan Kubiak, Esq.                                                                              Line   2.5
       900 Monroe Ave NW
       Grand Rapids, MI 49503

       Comerica Bank
       c/o Dan Kubiak, Esq.                                                                              Line   2.6
       900 Monroe Ave NW
       Grand Rapids, MI 49503

       James E. Morgan, Esq
       Howard & Howard Attorneys PLLC                                                                    Line   2.7
       450 West Fourth Street
       Royal Oak, MI 48067




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 5 of 5
                                 Case:23-01005-jwb                 Doc #:1 Filed: 04/28/2023                          Page 23 of 65

Fill in this information to identify the case:

Debtor name        Turbo Components, Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                          $515,484.31          $513,967.47
          Internal Revenue Service                            Check all that apply.
          PO Box 7346                                            Contingent
          Centralized Insolvency                                 Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2021-                                               Federal Withholding and FICA
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $3,468.94         $3,468.94
          Internal Revenue Service                            Check all that apply.
          PO Box 7346                                            Contingent
          Centralized Insolvency                                 Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2021-                                               FUTA
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 12
                                                                                                              49734
                              Case:23-01005-jwb                     Doc #:1 Filed: 04/28/2023                              Page 24 of 65

Debtor       Turbo Components, Inc.                                                                     Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $3,435.72   $3,435.72
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Centralized Insolvency                                  Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022-                                                FUTA
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                          $0.00    $0.00
          Michigan Unemployment Agency                         Check all that apply.
          3024 West Grand Blvd.                                   Contingent
          Tax Office, Suite 11-500                                Unliquidated
          Detroit, MI 48202-6024                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2021-                                                Unemployment
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $134,771.08        $134,771.08
          State of Michigan                                    Check all that apply.
          Dept. of Treasury                                       Contingent
          PO Box 30754                                            Unliquidated
          Lansing, MI 48909                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2021-                                                Michigan Withholding
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $27,770.85
          Aalberts Surface Technologies                                          Contingent
          200 Wedcor Avenue                                                      Unliquidated
          Wabash, IN 46992                                                       Disputed
          Date(s) debt was incurred 1/2023-
                                                                             Basis for the claim:     Services
          Last 4 digits of account number 8876
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,491.97
          Action Industrial Supply                                               Contingent
          2400 Olthoff Drive                                                     Unliquidated
          Muskegon, MI 49444                                                     Disputed
          Date(s) debt was incurred 2/2023-
                                                                             Basis for the claim:     Supplier
          Last 4 digits of account number 2375
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 12
                            Case:23-01005-jwb               Doc #:1 Filed: 04/28/2023                            Page 25 of 65

Debtor      Turbo Components, Inc.                                                          Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,273.91
         Airgas USA, LLC                                              Contingent
         6055 Rockside Woods Blvd.                                    Unliquidated
         Independence, OH 44131                                       Disputed
         Date(s) debt was incurred 1/2023-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 3947
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,021.76
         All Kut Tool, Inc.                                           Contingent
         601 Davy Lane                                                Unliquidated
         Wilmington, IL 60481                                         Disputed
         Date(s) debt was incurred  2/2023-                        Basis for the claim:    Supplier
         Last 4 digits of account number 2122
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,652.51
         Applied Industrial Tech                                      Contingent
         22510 Network Place                                          Unliquidated
         Chicago, IL 60673-1225                                       Disputed
         Date(s) debt was incurred 1/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 4712
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $613,664.98
         Beck Aluminum International                                  Contingent
         6150 Parkland Blvd                                           Unliquidated
         Suite 260                                                    Disputed
         Cleveland, OH 44124
                                                                   Basis for the claim:    Supplier
         Date(s) debt was incurred Filed 6/2022-
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,250.00
         Benchmark Manufacturing                                      Contingent
         856 E. Broadway Ave                                          Unliquidated
         Muskegon, MI 49444                                           Disputed
         Date(s) debt was incurred 3/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 1710
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $559,250.00
         Brad & Patsy Fortenbacher                                    Contingent
         536 Ranch Road                                               Unliquidated
         Muskegon, MI 49441                                           Disputed
         Date(s) debt was incurred 2012-
                                                                   Basis for the claim:    Loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Calhoun Foundry Company, Inc.                                Contingent
         506 S. Clay Street                                           Unliquidated
         Homer, MI 49245                                              Disputed
         Date(s) debt was incurred 12/2022-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 6046
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Turbo Components, Inc.                                                          Case number (if known)
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3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,868.58
         Calvin Meeusen Co., CPA PLLC                                 Contingent
         600 S. Beacon Blvd                                           Unliquidated
         Suite 1A                                                     Disputed
         Grand Haven, MI 49417
                                                                   Basis for the claim:    Services
         Date(s) debt was incurred 12/2022-
         Last 4 digits of account number 2022                      Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $8,924.13
         Carpenter Brothers, Inc.                                     Contingent
         PO Box 88113                                                 Unliquidated
         Milwaukee, WI 53288-0113                                     Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 8134
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Charter Communications                                       Contingent
         Spectrum Business                                            Unliquidated
         400 Washington Blvd                                          Disputed
         Stamford, CT 06902
                                                                   Basis for the claim:    Ongoing utility services
         Date(s) debt was incurred 2023-
                                                                   Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $296.48
         Chase Nedrow Industries                                      Contingent
         150 Landrow Drive                                            Unliquidated
         Wixom, MI 48393                                              Disputed
         Date(s) debt was incurred 3/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 8534
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Consumers Energy                                             Contingent
         PO Box 740309                                                Unliquidated
         Cincinnati, OH 45274                                         Disputed
         Date(s) debt was incurred   2023-                         Basis for the claim:    Ongoing utility services
         Last 4 digits of account number                           Notice Only
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,970.54
         Creative Machine Repair, LLC                                 Contingent
         3056 Dixie Ave, Suite D                                      Unliquidated
         Grandville, MI 49418                                         Disputed
         Date(s) debt was incurred 10/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 4159
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $500.00
         Creston Industrial Sales, Inc.                               Contingent
         1150 Front Ave NW                                            Unliquidated
         Grand Rapids, MI 49504                                       Disputed
         Date(s) debt was incurred 7/2021-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 4710
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Turbo Components, Inc.                                                          Case number (if known)
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3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $704.90
         Delta Dental of Michigan                                     Contingent
         4100 Okemos Road                                             Unliquidated
         Okemos, MI 48864                                             Disputed
         Date(s) debt was incurred 3/2023-
                                                                   Basis for the claim:    Group Insurance Plan
         Last 4 digits of account number 4358
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,606.00
         Dkyehouse Company                                            Contingent
         18438 171st Ave                                              Unliquidated
         Spring Lake, MI 49456                                        Disputed
         Date(s) debt was incurred 5/2022-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 5905
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,260.00
         East River Mach. & Tool, Inc.                                Contingent
         1701 Wierengo Drive                                          Unliquidated
         Muskegon, MI 49442                                           Disputed
         Date(s) debt was incurred 3/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 4633
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,966.88
         ESSG                                                         Contingent
         PO Box 741383                                                Unliquidated
         Atlanta, GA 30374                                            Disputed
         Date(s) debt was incurred  7/2021-                        Basis for the claim:    Supplier
         Last 4 digits of account number 9992
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,747.92
         Express Services                                             Contingent
         PO Box 945434                                                Unliquidated
         Atlanta, GA 30394                                            Disputed
         Date(s) debt was incurred  11/2021-                       Basis for the claim:    Services
         Last 4 digits of account number 8488
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $567.00
         FastTrack Staffing Solutions                                 Contingent
         PO Box 1866                                                  Unliquidated
         Ocala, FL 34478                                              Disputed
         Date(s) debt was incurred 11/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 6537
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,613.30
         HA International, LLC                                        Contingent
         PO Box 5164                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 7565
                                                                   Is the claim subject to offset?     No       Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $180.00
         Herschal Products, Inc.                                      Contingent
         3778 Timberlake Drive                                        Unliquidated
         Richfield, OH 44286                                          Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 3293
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $782.36
         Howes and Howes Trucking                                     Contingent
         PO Box 159                                                   Unliquidated
         Mesick, MI 49668                                             Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 6195
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,439.35
         ICS Corporation                                              Contingent
         4675 Talon Court                                             Unliquidated
         Grand Rapids, MI 49512                                       Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 0872
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $434.95
         Integrity Business Solutions                                 Contingent
         6548 Schamber Drive                                          Unliquidated
         Muskegon, MI 49444                                           Disputed
         Date(s) debt was incurred 1/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 3983
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,787.60
         Kanthal Thermal Process, Inc.                                Contingent
         48941 West Road                                              Unliquidated
         Wixom, MI 48393                                              Disputed
         Date(s) debt was incurred 12/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 1647
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,766.45
         Keyence                                                      Contingent
         500 Park Blvd, Suite 200                                     Unliquidated
         Itasca, IL 60143                                             Disputed
         Date(s) debt was incurred 10/2022-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 5900
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,286.08
         McDanel Advance Ceramics                                     Contingent
         510 Ninth Avenue                                             Unliquidated
         Beaver Falls, PA 15010                                       Disputed
         Date(s) debt was incurred 12/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 9855
                                                                   Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $698.27
         McMaster-Carr                                                Contingent
         PO Box 7690                                                  Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred  2/2023-                        Basis for the claim:    Services
         Last 4 digits of account number 2534
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2.87
         Medler Electric Co.                                          Contingent
         2155 Redman Drive                                            Unliquidated
         Alma, MI 48801                                               Disputed
         Date(s) debt was incurred  7/2016-                        Basis for the claim:    Services
         Last 4 digits of account number 7001
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $112.00
         Methods Machine Tool, Inc.                                   Contingent
         2155 Redman Drive                                            Unliquidated
         Alma, MI 48801                                               Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 5564
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Michigan Gas                                                 Contingent
         PO Box 19001                                                 Unliquidated
         Green Bay, WI 54307                                          Disputed
         Date(s) debt was incurred   2023-                         Basis for the claim:    Ongoing utility services
         Last 4 digits of account number                           Notice Only
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $375.00
         Mike Thompson                                                Contingent
         80 W. Pontaluna Road                                         Unliquidated
         Norton Shores, MI 49444                                      Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 1280
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,353.48
         Motio Business Technology                                    Contingent
         22 South Harbor Drive                                        Unliquidated
         Suite 103                                                    Disputed
         Grand Haven, MI 49417
                                                                   Basis for the claim:    Services
         Date(s) debt was incurred 11/2022-
         Last 4 digits of account number 3795                      Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,941.00
         MTMIC                                                        Contingent
         PO Box 673911                                                Unliquidated
         Detroit, MI 48267                                            Disputed
         Date(s) debt was incurred  1/2023-                        Basis for the claim:    Insurance Premiums
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes




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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,000.00
         Muv-All Industrial Services                                  Contingent
         2645 Ninth Street                                            Unliquidated
         Muskegon, MI 49444                                           Disputed
         Date(s) debt was incurred 12/2017-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 9038
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,717.25
         Norton Packaging Corporation                                 Contingent
         16859 Hayes Street                                           Unliquidated
         Grand Haven, MI 49417                                        Disputed
         Date(s) debt was incurred 1/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 4283
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $352.00
         Orion Machine, Inc.                                          Contingent
         392 Irwin Ave                                                Unliquidated
         Muskegon, MI 49442                                           Disputed
         Date(s) debt was incurred  2/2023-                        Basis for the claim:    Services
         Last 4 digits of account number 0273
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $504.31
         Paddock Tool Co., Inc.                                       Contingent
         7939 SW 29th Street                                          Unliquidated
         Topeka, KS 66614                                             Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 3629
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,586.05
         Priority Health                                              Contingent
         3915 Momentum Place                                          Unliquidated
         Chicago, IL 60689                                            Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Group Insurance Plan
         Last 4 digits of account number 3474
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $24,589.72
         Production Tool Supply                                       Contingent
         4782- 44th Street SE                                         Unliquidated
         Grand Rapids, MI 49512                                       Disputed
         Date(s) debt was incurred 1/2023-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 6850
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $450.00
         Professional Building Services                               Contingent
         PO Box 111                                                   Unliquidated
         Frankenmuth, MI 48734                                        Disputed
         Date(s) debt was incurred 9/2021-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 2784
                                                                   Is the claim subject to offset?     No       Yes




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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $249.20
         Pyrotek, Inc-USA                                             Contingent
         PO Box 203024                                                Unliquidated
         Dallas, TX 75320                                             Disputed
         Date(s) debt was incurred  1/2023-                        Basis for the claim:    Supplier
         Last 4 digits of account number 8685
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,600.00
         Quality Door of Muskegon, Inc.                               Contingent
         2481 Van Ommen Drive                                         Unliquidated
         Holland, MI 49424                                            Disputed
         Date(s) debt was incurred 3/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 0240
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,300.00
         Quality Spectrometer Services                                Contingent
         4017 Washington Road                                         Unliquidated
         PMB 108                                                      Disputed
         McMurray, PA 15317
                                                                   Basis for the claim:    Services
         Date(s) debt was incurred 1/2023-
         Last 4 digits of account number 4500                      Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $400.57
         R & L Carriers                                               Contingent
         PO Box 271                                                   Unliquidated
         Wilmington, OH 45177-0271                                    Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 1128
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,116.78
         Resource Recovery Corporation                                Contingent
         15220 68th Ave                                               Unliquidated
         Coopersville, MI 49404                                       Disputed
         Date(s) debt was incurred 9/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 3094
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,150.74
         Shoreline Metal Fabricators                                  Contingent
         1880 Park Street                                             Unliquidated
         Muskegon, MI 49441                                           Disputed
         Date(s) debt was incurred 8/2021-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 6702
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,189.00
         Solve Metrology, LLC                                         Contingent
         2940 44th Street, Suite 1                                    Unliquidated
         Grandville, MI 49418                                         Disputed
         Date(s) debt was incurred 4/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 2840
                                                                   Is the claim subject to offset?     No       Yes




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3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $922.25
         Spindle Grinding Service, Inc.                               Contingent
         PO Box 128                                                   Unliquidated
         Albion, MI 49224                                             Disputed
         Date(s) debt was incurred 10/2022-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 2112
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $392.53
         Spring Lake Ace Hardware                                     Contingent
         605 Whitehall Road                                           Unliquidated
         N. Muskegon, MI 49445                                        Disputed
         Date(s) debt was incurred 2/2023-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 2023
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,684.57
         Star Truck Rentals, Inc.                                     Contingent
         2580 Black Creek Road                                        Unliquidated
         Muskegon, MI 49444                                           Disputed
         Date(s) debt was incurred 3/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 3571
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $840.00
         Sun Down Sheet Metal                                         Contingent
         5677 Airline Road                                            Unliquidated
         Fruitport, MI 49415                                          Disputed
         Date(s) debt was incurred 1/2023-
                                                                   Basis for the claim:    Services
         Last 4 digits of account number 9253
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Tuttle Manufacturing                                         Contingent
         1032 W. Northwest Hwy                                        Unliquidated
         Barrington, IL 60010                                         Disputed
         Date(s) debt was incurred 3/2022-
                                                                   Basis for the claim:    Supplier
         Last 4 digits of account number 0192
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $289.43
         Uline                                                        Contingent
         PO Box 88741                                                 Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred  2/2023-                        Basis for the claim:    Services
         Last 4 digits of account number 7763
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $46.02
         UPS                                                          Contingent
         PO Box 809488                                                Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred  3/2023-                        Basis for the claim:    Services
         Last 4 digits of account number 3103
                                                                   Is the claim subject to offset?     No       Yes




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3.59      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Village of Spring Lake                                              Contingent
          Water/Sewer Services                                                Unliquidated
          102 W. Savidge Street                                               Disputed
          Spring Lake, MI 49456
                                                                           Basis for the claim:    Ongoing utility services
          Date(s) debt was incurred 2023-
                                                                           Notice Only
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.60      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Waste Management                                                    Contingent
          800 Capital Street, Ste. 3000                                       Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred 2023-
                                                                           Basis for the claim:    Ongoing utility services
          Last 4 digits of account number                                  Notice Only
                                                                           Is the claim subject to offset?         No    Yes

3.61      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,202.00
          Weber Grinding Co.                                                  Contingent
          18438 171st Ave                                                     Unliquidated
          Spring Lake, MI 49456                                               Disputed
          Date(s) debt was incurred 2/2023
                                                                           Basis for the claim:    Supplier
          Last 4 digits of account number 5795
                                                                           Is the claim subject to offset?         No    Yes

3.62      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,523.38
          Zion Machine & Mfg, LLC                                             Contingent
          16673 148th Ave, Suite 2                                            Unliquidated
          Spring Lake, MI 49456                                               Disputed
          Date(s) debt was incurred 3/2019-
                                                                           Basis for the claim:    Services
          Last 4 digits of account number 5263
                                                                           Is the claim subject to offset?         No    Yes

3.63      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,076.65
          Zoro Tools, Inc.                                                    Contingent
          909 Asbury Drive                                                    Unliquidated
          Buffalo Grove, IL 60089                                             Disputed
          Date(s) debt was incurred 1/2023-
                                                                           Basis for the claim:    Supplier
          Last 4 digits of account number 8622
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Jean R. Robertson, Esq.
          6150 Parkland Blvd                                                                        Line     3.6
          Paragon II, Suite 260
                                                                                                           Not listed. Explain
          Cleveland, OH 44124

4.2       Steve Bylenga, Esq.
          25 Division Ave S.                                                                        Line     3.8
          Ste. 500
                                                                                                           Not listed. Explain
          Grand Rapids, MI 49503


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 12
                               Case:23-01005-jwb              Doc #:1 Filed: 04/28/2023                   Page 34 of 65

Debtor      Turbo Components, Inc.                                                      Case number (if known)
            Name

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                    657,160.05
5b. Total claims from Part 2                                                              5b.   +   $                  1,385,743.57

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                    2,042,903.62




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 12 of 12
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Fill in this information to identify the case:

Debtor name       Turbo Components, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Former 401K Plan
           lease is for and the nature of        Administrator Fees
           the debtor's interest                 *Inactive account since
                                                 12/2020.
                                                 Debtor to reject this
                                                 contract.
               State the term remaining
                                                                                    ADP
           List the contract number of any                                          1 Adp Blvd
                 government contract                                                Roseland, NJ 07068


2.2.       State what the contract or            Gas Cylinder Rentals
           lease is for and the nature of        *Debtor to assume this
           the debtor's interest                 contract.

               State the term remaining          Lease expires 9/9/2023
                                                                                    Airgas USA, LLC
           List the contract number of any                                          6055 Rockside Woods Blvd.
                 government contract                                                Independence, OH 44131


2.3.       State what the contract or            Tax Resolution
           lease is for and the nature of        Contract
           the debtor's interest                 *Debtor to reject this
                                                 contract.
               State the term remaining                                             Andrew Campbell, CPA
                                                                                    Lothamer Tax Resolution
           List the contract number of any                                          3626 Dunckel Road
                 government contract                                                Lansing, MI 48910


2.4.       State what the contract or            Employee Dental Plan
           lease is for and the nature of        *Debtor to assume this
           the debtor's interest                 contract.

               State the term remaining          Month-to-Month
                                                                                    Delta Dental of Michigan
           List the contract number of any                                          4100 Okemos Road
                 government contract                                                Okemos, MI 48864


Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 3
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Debtor 1 Turbo Components, Inc.                                                  Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        (1) 2016 Mitsubishi,
          lease is for and the nature of    Model: FG30N, S/N:
          the debtor's interest             AF1300058
                                            (Leased Equipment)
                                            *Debtor to assume this
                                            lease.
             State the term remaining       Lease expires
                                            12/29/2024                   Industrial Leasing, LLC
          List the contract number of any                                1825 Monroe Ave NW
                government contract                                      Grand Rapids, MI 49505


2.6.      State what the contract or        (1) 2013 Jungheinrich
          lease is for and the nature of    Forklift, Model:
          the debtor's interest             ETR230-36V, S/N:
                                            2JR3207904
                                            (Leased Equipment)
                                            *Debtor to assume this
                                            lease.
             State the term remaining       Lease expires
                                            12/29/2024                   Industrial Leasing, LLC
          List the contract number of any                                1825 Monroe Ave NW
                government contract                                      Grand Rapids, MI 49505


2.7.      State what the contract or        Mattei EM 1000 460/3
          lease is for and the nature of    Open Air Compressor
          the debtor's interest             and Great Lakes Air
                                            Dryer
                                            (Equipment Lease)
                                            *Debtor to assume this
                                            lease.
             State the term remaining       Lease expires 8/13/2024
                                                                         Midland Equipment Finance
          List the contract number of any                                PO Box 24245
                government contract                                      Seattle, WA 98124




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 3
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Debtor 1 Turbo Components, Inc.                                                  Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.8.      State what the contract or        Service Equipment
          lease is for and the nature of    Rental: One 1/2 rack
          the debtor's interest             cabinet enclosure, one
                                            rack mountable
                                            uninterruptible power
                                            supply, and one rack
                                            mountable Microsoft
                                            Windows Server fault
                                            tolerant redundant host
                                            server.
                                            (Leased equipment)
                                            *Debtor to assume this
                                            lease.
             State the term remaining       Month-to-Month               Motio Business Technology
                                                                         22 South Harbor Drive
          List the contract number of any                                Suite 103
                government contract                                      Grand Haven, MI 49417


2.9.      State what the contract or        Employee Medial Plan
          lease is for and the nature of    *Debtor to assume this
          the debtor's interest             contract.

             State the term remaining       Month-to-Month
                                                                         Priority Health
          List the contract number of any                                1231 E. Beltline NE
                government contract                                      Grand Rapids, MI 49525


2.10.     State what the contract or        2019 International
          lease is for and the nature of    Daycab Tractor
          the debtor's interest             VIN
                                            3HSDWTZR0KN403951
                                            (Leased Tractor)
                                            *Debtor to assume this
                                            lease.
             State the term remaining       Lease expires 9/1/2023
                                                                         Star Truck Rentals, Inc.
          List the contract number of any                                2580 Black Creek Road
                government contract                                      Muskegon, MI 49444


2.11.     State what the contract or        Commerical Lease
          lease is for and the nature of    Agreement
          the debtor's interest             (Foundry Property)
                                            *Debtor to assume this
                                            lease.
             State the term remaining       Month-to-Month
                                                                         TNB, L.L.C.
          List the contract number of any                                536 Ranch Road
                government contract                                      Muskegon, MI 49441




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 3
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Fill in this information to identify the case:

Debtor name      Turbo Components, Inc.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Brad                        536 Ranch Road                                            Comerica Bank                      D   2.2
          Fortenbacher                Muskegon, MI 49441                                                                           E/F
                                                                                                                                   G




   2.2    Brad                        536 Ranch Road                                            Comerica Bank                      D   2.3
          Fortenbacher                Muskegon, MI 49441                                                                           E/F
                                                                                                                                   G




   2.3    Brad                        536 Ranch Road                                            Comerica Bank                      D   2.5
          Fortenbacher                Muskegon, MI 49441                                                                           E/F
                                                                                                                                   G




   2.4    Brad                        536 Ranch Road                                            Comerica Bank                      D   2.6
          Fortenbacher                Muskegon, MI 49441                                                                           E/F
                                                                                                                                   G




   2.5    Brad                        536 Ranch Road                                            Grow Michigan, LLC                 D   2.7
          Fortenbacher                Muskegon, MI 49441                                                                           E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 4
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Debtor    Turbo Components, Inc.                                                  Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Brad                     536 Ranch Road                                      BorgWarner Turbo                   D   2.1
          Fortenbacher             Muskegon, MI 49441                                  Systems, LLC                       E/F
                                                                                                                          G




  2.7     Mark Sweany              4822 McMillan                                       Comerica Bank                      D   2.2
                                   Muskegon, MI 49445                                                                     E/F
                                                                                                                          G




  2.8     Mark Sweany              4822 McMillan                                       Comerica Bank                      D   2.3
                                   Muskegon, MI 49445                                                                     E/F
                                                                                                                          G




  2.9     Mark Sweany              4822 McMillan                                       Comerica Bank                      D   2.5
                                   Muskegon, MI 49445                                                                     E/F
                                                                                                                          G




  2.10    Mark Sweany              4822 McMillan                                       Comerica Bank                      D   2.6
                                   Muskegon, MI 49445                                                                     E/F
                                                                                                                          G




  2.11    Mark Sweany              4822 McMillan                                       Grow Michigan, LLC                 D   2.7
                                   Muskegon, MI 49445                                                                     E/F
                                                                                                                          G




  2.12    Patsy                    536 Ranch Road                                      Comerica Bank                      D   2.2
          Fortenbacher             Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.13    Patsy                    536 Ranch Road                                      Comerica Bank                      D   2.3
          Fortenbacher             Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 4
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Debtor    Turbo Components, Inc.                                                  Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Patsy                    536 Ranch Road                                      Comerica Bank                      D   2.5
          Fortenbacher             Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.15    Patsy                    536 Ranch Road                                      Comerica Bank                      D   2.6
          Fortenbacher             Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.16    Patsy                    536 Ranch Road                                      Grow Michigan, LLC                 D   2.7
          Fortenbacher             Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.17    TNB, L.L.C.              536 Ranch Road                                      Comerica Bank                      D   2.5
                                   Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.18    TNB, L.L.C.              536 Ranch Road                                      Comerica Bank                      D   2.2
                                   Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.19    TNB, L.L.C.              536 Ranch Road                                      Comerica Bank                      D   2.3
                                   Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.20    TNB, L.L.C.              536 Ranch Road                                      Comerica Bank                      D   2.6
                                   Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




  2.21    TNB, L.L.C.              536 Ranch Road                                      Grow Michigan, LLC                 D   2.7
                                   Muskegon, MI 49441                                                                     E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 4
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Debtor    Turbo Components, Inc.                                                  Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.22    TNB, L.L.C.              536 Ranch Road                                      BorgWarner Turbo                   D   2.1
                                   Muskegon, MI 49441                                  Systems, LLC                       E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 4 of 4
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Fill in this information to identify the case:

Debtor name         Turbo Components, Inc.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,615,618.09
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $5,100,949.84
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $4,952,799.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Turbo Components, Inc.                                                       Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.1.
             Motio Business Technology                       Within the                       $20,562.25           Secured debt
             22 South Harbor Drive                           past 90 days                                          Unsecured loan repayments
             Suite 103
                                                                                                                   Suppliers or vendors
             Grand Haven, MI 49417
                                                                                                                   Services
                                                                                                                   Other Leased equipment


      3.2.
             TNB, L.L.C.                                     Within the                         $9,000.00          Secured debt
             536 Ranch Road                                  past 90 days                                          Unsecured loan repayments
             Muskegon, MI 49441                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Commercial Lease
                                                                                                                 Agreement

      3.3.
             Michigan Unemployment Agency                    2/21/2023                        $21,024.86           Secured debt
             3024 West Grand Blvd.                                                                                 Unsecured loan repayments
             Tax Office, Suite 11-500                                                                              Suppliers or vendors
             Detroit, MI 48202-6024                                                                                Services
                                                                                                                   Other Tax Liabilities- Bank
                                                                                                                 Account Levy

      3.4.
             Aalberts Surface Technologies                   Within the                       $40,318.88           Secured debt
             200 Wedcor Avenue                               past 90 days                                          Unsecured loan repayments
             Wabash, IN 46992
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other COD Equivalent


      3.5.
             Beck Aluminum International                     Within the                      $210,561.37           Secured debt
             6150 Parkland Blvd                              past 90 days                                          Unsecured loan repayments
             Suite 260
                                                                                                                   Suppliers or vendors
             Cleveland, OH 44124
                                                                                                                   Services
                                                                                                                   Other COD


      3.6.
             Carpenter Brothers, Inc.                        Within the                       $25,095.54           Secured debt
             PO Box 88113                                    past 90 days                                          Unsecured loan repayments
             Milwaukee, WI 53288-0113
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other COD Equivalent


      3.7.
             Comerica Bank                                   Within the                      $157,377.91           Secured debt
             39200 Six Mile Road                             past 90 days                                          Unsecured loan repayments
             MC 7578
                                                                                                                   Suppliers or vendors
             Livonia, MI 48152
                                                                                                                   Services
                                                                                                                   Other




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
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Debtor       Turbo Components, Inc.                                                        Case number (if known)



      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.8.
             Consumers Energy                                 Within the                       $62,225.29           Secured debt
             PO Box 740309                                    past 90 days                                          Unsecured loan repayments
             Cincinnati, OH 45274                                                                                   Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.9.
             DMG MORI USA, Inc.                               Within the                         $9,114.40          Secured debt
             2400 Huntington Blvd                             past 90 days                                          Unsecured loan repayments
             Hoffman Estates, IL 60192
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.10
      .
           HA International, LLC                              Within the                       $43,065.70           Secured debt
             PO Box 5164                                      past 90 days                                          Unsecured loan repayments
             Carol Stream, IL 60197
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other COD Equivalent


      3.11
      .
           Internal Revenue Service                           Within the                      $107,376.48           Secured debt
             PO Box 7346                                      past 90 days                                          Unsecured loan repayments
             Centralized Insolvency                                                                                 Suppliers or vendors
             Philadelphia, PA 19101-7346                                                                            Services
                                                                                                                    Other Withholding Taxes


      3.12
      .
           IPFS Corporation                                   Within the                       $15,571.84           Secured debt
             11th Floor                                       past 90 days                                          Unsecured loan repayments
             1055 Broadway                                                                                          Suppliers or vendors
             Kansas City, MO 64105
                                                                                                                    Services
                                                                                                                    Other Insurance Premium


      3.13
      .
           Michigan Gas                                       Within the                       $50,861.93           Secured debt
             PO Box 19001                                     past 90 days                                          Unsecured loan repayments
             Green Bay, WI 54307                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.14
      .
           State of Michigan                                  Within the                       $10,779.43           Secured debt
             Office of Child Support                          past 90 days                                          Unsecured loan repayments
             PO Box 30478                                                                                           Suppliers or vendors
             Lansing, MI 48909                                                                                      Services
                                                                                                                    Other Child Support
                                                                                                                  Payments withheld from
                                                                                                                  employee wages.




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Debtor      Turbo Components, Inc.                                                        Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.15
      .
           MTMIC                                             Within the                         $7,941.00          Secured debt
             PO Box 673911                                   past 90 days                                          Unsecured loan repayments
             Detroit, MI 48267                                                                                     Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Insurance premium


      3.16
      .
           Ottawa County Treasurer                           Within the                       $20,735.25           Secured debt
             12270 Fillmore Street #155                      past 90 days                                          Unsecured loan repayments
             West Olive, MI 49460
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Property Taxes


      3.17
      .
           Priority Health                                   Within the                       $62,648.35           Secured debt
             3915 Momentum Place                             past 90 days                                          Unsecured loan repayments
             Chicago, IL 60689                                                                                     Suppliers or vendors
                                                                                                                   Services
                                                                                                                    Other Group Health
                                                                                                                 Insurance Plan

      3.18
      .
           Production Tool Supply                            Within the                       $29,396.47           Secured debt
             4782- 44th Street SE                            past 90 days                                          Unsecured loan repayments
             Grand Rapids, MI 49512
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other COD Equivalent


      3.19
      .
           Star Truck Rentals, Inc.                          Within the                       $24,713.01           Secured debt
             2580 Black Creek Road                           past 90 days                                          Unsecured loan repayments
             Muskegon, MI 49444
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Leased equipment


      3.20
      .
           State Heat Treat, Inc.                            Within the                       $10,895.81           Secured debt
             520 32nd Street SE                              past 90 days                                          Unsecured loan repayments
             Grand Rapids, MI 49548                                                                                Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other COD Equivalent


      3.21
      .
           State of Michigan                                 Within the                       $57,857.64           Secured debt
             Dept. of Treasury                               past 90 days                                          Unsecured loan repayments
             PO Box 30754                                                                                          Suppliers or vendors
             Lansing, MI 48909                                                                                     Services
                                                                                                                   Other Withholding taxes




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor       Turbo Components, Inc.                                                             Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.22
      .
           Z-Alloy, Inc.                                           Within the                       $66,553.13                Secured debt
             11059 Broadway                                        past 90 days                                               Unsecured loan repayments
             Crown Point, IN 46307
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other COD Equivalent


      3.23
      .
           C. DeYoung (Employee)                                   Within the                         $8,365.52               Secured debt
                                                                   past 90 days                                               Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other Employee replacement
                                                                                                                         checks for outstanding payroll
                                                                                                                         checks prior to 11/14/2022.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Brad Fortenbacher                                     Within the                       $52,252.47           Wages
             536 Ranch Road                                        past year
             Muskegon, MI 49441
             President

      4.2.   American Express                                      Within the                       $18,000.00           Business Expense
             c/o Brad Fortenbacher                                 past year                                             Reimbursements on Brad
             PO Box 981537                                                                                               Fortenbacher's charge account
             El Paso, TX 79998
             President's Business Credit Card

      4.3.   Jay Fortenbacher                                      Within the                       $60,118.08           Wages
             3025 Dawes Road                                       past year
             Muskegon, MI 49441
             President's Son

      4.4.   Jill Fortenbacher                                     Within the                       $10,000.00           Loan repayment- Borrowed and
             3999 Harris Drive                                     past year                                             repaid within 2 weeks.
             Muskegon, MI 49441
             President's Mom

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.
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Debtor      Turbo Components, Inc.                                                               Case number (if known)




          None

      Creditor's name and address                     Description of the action creditor took                         Date action was             Amount
                                                                                                                      taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                               Nature of case               Court or agency's name and               Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                  Dates given                         Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                           lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Damages overhead door                           Pending insurance claim of $5,224 to be                    Within the past               $5,224.00
                                                      paid directly to Overhead Door Company                     year
                                                      of Grand Rapids


Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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Debtor        Turbo Components, Inc.                                                            Case number (if known)



               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Keller & Almassian, PLC
               230 East Fulton                                                                                         Within the
               Grand Rapids, MI 49503                     Attorney Fees                                                past year               $158,914.50

               Email or website address
               ecf@kalawgr.com

               Who made the payment, if not debtor?




      11.2.    Distel Thiede Advisory
               Services
               1500 E. Beltline SE, Ste. 100                                                                           Within the
               Grand Rapids, MI 49506                     Financial advisory services                                  past year               $192,317.08

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?




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           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                    No Go to Part 10.
                    Yes. Fill in below:

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




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Debtor      Turbo Components, Inc.                                                              Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



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Debtor      Turbo Components, Inc.                                                              Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Andrew Campbell, CPA                                                                                            Within the past 2
                    Lothamer Tax Resolution                                                                                         years
                    3626 Dunckel Road
                    Lansing, MI 48910
      26a.2.        Distel Thiede Advisory Services                                                                                 Within the past year
                    1500 E. Beltline SE, Ste. 100
                    Grand Rapids, MI 49506
      26a.3.        Brad Fortenbacher                                                                                               Within the past 2
                    536 Ranch Road                                                                                                  years
                    Muskegon, MI 49441

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Distel Thiede Advisory Services                                                                                 Within the past year
                    1500 E. Beltline SE, Ste. 100
                    Grand Rapids, MI 49506
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Andrew Campbell, CPA                                                                                            Within the past 2
                    Lothamer Tax Resolution                                                                                         years
                    3626 Dunckel Road
                    Lansing, MI 48910
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.3.        Brad Fortenbacher                                                                                               Within the past 2
                    536 Ranch Road                                                                                                  years
                    Muskegon, MI 49441

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Distel Thiede Advisory Services
                    1500 E. Beltline SE, Ste. 100
                    Grand Rapids, MI 49506
      26c.2.        Andrew Campbell, CPA
                    Lothamer Tax Resolution
                    3626 Dunckel Road
                    Lansing, MI 48910
      26c.3.        Brad Fortenbacher
                    536 Ranch Road
                    Muskegon, MI 49441

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

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Debtor      Turbo Components, Inc.                                                             Case number (if known)



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 Brad Fortenbacher
      .                                                                            2/2/2023                 See Schedule A/B

             Name and address of the person who has possession of
             inventory records
             Brad Fortenbacher
             536 Ranch Road
             Muskegon, MI 49441


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Brad Fortenbacher                      536 Ranch Road                                      President                               0
                                             Muskegon, MI 49441

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Mark Sweany                            4822 McMillan                                       Director                                33.33
                                             Muskegon, MI 49445

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Patsy Fortenbacher                     536 Ranch Road                                      Director                                66.67
                                             Muskegon, MI 49441



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Brad Fortenbacher
      .    536 Ranch Road                                                                                       Within the
             Muskegon, MI 49441                       $52,252.47                                                past year           Wages

             Relationship to debtor
             President




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Debtor      Turbo Components, Inc.                                                             Case number (if known)



             Name and address of recipient           Amount of money or description and value of                Dates             Reason for
                                                     property                                                                     providing the value
      30.2 Jay Fortenbacher
      .    3025 Dawes Road                                                                                      Within the
             Muskegon, MI 49441                      $60,118.08                                                 past year         Wages

             Relationship to debtor
             President's son


      30.3 Brad Fortenbacher
      .    536 Ranch Road                                                                                       Within the
             Muskegon, MI 49441                      $7,439.63                                                  past year         Interest Payment.

             Relationship to debtor
             President


      30.4 Jill Fortenbacher
      .    3999 Harris Drive                                                                                    Within the
             Muskegon, MI 49441                      $10,000.00                                                 past year         Loan Repayment

             Relationship to debtor
             President's Mother


      30.5 American Express
      .    c/o Brad Fortenbacher
             PO Box 981537                                                                                      Within the        Business expense
             El Paso, TX 79998                       $18,000.00                                                 past year         reimbursements

             Relationship to debtor
             President's Charge Account


      30.6 TNB, L.L.C.
      .    536 Ranch Road                                                                                       Within the        Commerical
             Muskegon, MI 49441                      $36,000.00                                                 past year         Lease Payments

             Relationship to debtor
             President's Company


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true

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Debtor      Turbo Components, Inc.                                                              Case number (if known)



     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 28, 2023

/s/ Brad Fortenbacher                                           Brad Fortenbacher
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                      United States Bankruptcy Court
                                                             Western District of Michigan
 In re    Turbo Components, Inc.                                                                                  Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Mark Sweany                                                                       33.33
4822 McMillan
Muskegon, MI 49445

Patsy Fortenbacher                                                                66.67
536 Ranch Road
Muskegon, MI 49441


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date April 28, 2023                                                      Signature /s/ Brad Fortenbacher
                                                                                        Brad Fortenbacher

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                     Western District of Michigan
 In re   Turbo Components, Inc.                                                                   Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     April 28, 2023                                 /s/ Brad Fortenbacher
                                                         Brad Fortenbacher/President
                                                         Signer/Title

Date: April 28, 2023                                     /s/ A. Todd Almassian
                                                         Signature of Attorney
                                                         A. Todd Almassian P55467
                                                         Keller & Almassian, PLC
                                                         230 East Fulton
                                                         Grand Rapids, MI 49503
                                                         616-364-2100 Fax: 616-364-2200
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              AALBERTS SURFACE TECHNOLOGIES
              200 WEDCOR AVENUE
              WABASH IN 46992


              ACTION INDUSTRIAL SUPPLY
              2400 OLTHOFF DRIVE
              MUSKEGON MI 49444


              ADP
              1 ADP BLVD
              ROSELAND NJ 07068


              AIRGAS USA, LLC
              6055 ROCKSIDE WOODS BLVD.
              INDEPENDENCE OH 44131


              ALL KUT TOOL, INC.
              601 DAVY LANE
              WILMINGTON IL 60481


              ANDREW CAMPBELL, CPA
              LOTHAMER TAX RESOLUTION
              3626 DUNCKEL ROAD
              LANSING MI 48910


              APPLIED INDUSTRIAL TECH
              22510 NETWORK PLACE
              CHICAGO IL 60673-1225


              BECK ALUMINUM INTERNATIONAL
              6150 PARKLAND BLVD
              SUITE 260
              CLEVELAND OH 44124


              BENCHMARK MANUFACTURING
              856 E. BROADWAY AVE
              MUSKEGON MI 49444


              BORGWARNER TURBO SYSTEMS, LLC
              C/O DENNIS W. LOUGHLIN, ESQ.
              WARNER NORCROSS & JUDD LLP
              2715 WOODWARD AVE, STE. 300
              DETROIT MI 48201
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          BRAD FORTENBACHER
          536 RANCH ROAD
          MUSKEGON MI 49441


          CALHOUN FOUNDRY COMPANY, INC.
          506 S. CLAY STREET
          HOMER MI 49245


          CALVIN MEEUSEN CO., CPA PLLC
          600 S. BEACON BLVD
          SUITE 1A
          GRAND HAVEN MI 49417


          CARPENTER BROTHERS, INC.
          PO BOX 88113
          MILWAUKEE WI 53288-0113


          CHARTER COMMUNICATIONS
          SPECTRUM BUSINESS
          400 WASHINGTON BLVD
          STAMFORD CT 06902


          CHASE NEDROW INDUSTRIES
          150 LANDROW DRIVE
          WIXOM MI 48393


          COMERICA BANK
          39200 SIX MILE ROAD
          MC 7578
          LIVONIA MI 48152


          COMERICA BANK
          99 MONROE AVE
          SUITE 1000
          GRAND RAPIDS MI 49503


          COMERICA BANK
          C/O DAN KUBIAK, ESQ.
          900 MONROE AVE NW
          GRAND RAPIDS MI 49503


          CONSUMERS ENERGY
          PO BOX 740309
          CINCINNATI OH 45274
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          CREATIVE MACHINE REPAIR, LLC
          3056 DIXIE AVE, SUITE D
          GRANDVILLE MI 49418


          CRESTON INDUSTRIAL SALES, INC.
          1150 FRONT AVE NW
          GRAND RAPIDS MI 49504


          DELTA DENTAL OF MICHIGAN
          4100 OKEMOS ROAD
          OKEMOS MI 48864


          DKYEHOUSE COMPANY
          18438 171ST AVE
          SPRING LAKE MI 49456


          EAST RIVER MACH. & TOOL, INC.
          1701 WIERENGO DRIVE
          MUSKEGON MI 49442


          ESSG
          PO BOX 741383
          ATLANTA GA 30374


          EXPRESS SERVICES
          PO BOX 945434
          ATLANTA GA 30394


          FASTTRACK STAFFING SOLUTIONS
          PO BOX 1866
          OCALA FL 34478


          GROW MICHIGAN, LLC
          C/O RANDY LONG
          TWO LONE PINE ROAD
          BLOOMFIELD HILLS MI 48304


          HA INTERNATIONAL, LLC
          PO BOX 5164
          CAROL STREAM IL 60197


          HERSCHAL PRODUCTS, INC.
          3778 TIMBERLAKE DRIVE
          RICHFIELD OH 44286
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          HOWES AND HOWES TRUCKING
          PO BOX 159
          MESICK MI 49668


          HUNTINGTON BANK
          41 S. HIGH STREET
          COLUMBUS OH 43215


          HUNTINGTON BANK
          PO BOX 1527
          MIDLAND MI 48641


          ICS CORPORATION
          4675 TALON COURT
          GRAND RAPIDS MI 49512


          INDUSTRIAL LEASING, LLC
          1825 MONROE AVE NW
          GRAND RAPIDS MI 49505


          INTEGRITY BUSINESS SOLUTIONS
          6548 SCHAMBER DRIVE
          MUSKEGON MI 49444


          INTERNAL REVENUE SERVICE
          PO BOX 7346
          CENTRALIZED INSOLVENCY
          PHILADELPHIA PA 19101-7346


          JAMES E. MORGAN, ESQ
          HOWARD & HOWARD ATTORNEYS PLLC
          450 WEST FOURTH STREET
          ROYAL OAK MI 48067


          JEAN R. ROBERTSON, ESQ.
          6150 PARKLAND BLVD
          PARAGON II, SUITE 260
          CLEVELAND OH 44124


          KANTHAL THERMAL PROCESS, INC.
          48941 WEST ROAD
          WIXOM MI 48393
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          KEYENCE
          500 PARK BLVD, SUITE 200
          ITASCA IL 60143


          MARK SWEANY
          4822 MCMILLAN
          MUSKEGON MI 49445


          MCDANEL ADVANCE CERAMICS
          510 NINTH AVENUE
          BEAVER FALLS PA 15010


          MCMASTER-CARR
          PO BOX 7690
          CHICAGO IL 60680


          MEDLER ELECTRIC CO.
          2155 REDMAN DRIVE
          ALMA MI 48801


          METHODS MACHINE TOOL, INC.
          2155 REDMAN DRIVE
          ALMA MI 48801


          MICHIGAN GAS
          PO BOX 19001
          GREEN BAY WI 54307


          MICHIGAN UNEMPLOYMENT AGENCY
          3024 WEST GRAND BLVD.
          TAX OFFICE, SUITE 11-500
          DETROIT MI 48202-6024


          MIDLAND EQUIPMENT FINANCE
          PO BOX 24245
          SEATTLE WA 98124


          MIKE THOMPSON
          80 W. PONTALUNA ROAD
          NORTON SHORES MI 49444


          MOTIO BUSINESS TECHNOLOGY
          22 SOUTH HARBOR DRIVE
          SUITE 103
          GRAND HAVEN MI 49417
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          MTMIC
          PO BOX 673911
          DETROIT MI 48267


          MUV-ALL INDUSTRIAL SERVICES
          2645 NINTH STREET
          MUSKEGON MI 49444


          NORTON PACKAGING CORPORATION
          16859 HAYES STREET
          GRAND HAVEN MI 49417


          ORION MACHINE, INC.
          392 IRWIN AVE
          MUSKEGON MI 49442


          PADDOCK TOOL CO., INC.
          7939 SW 29TH STREET
          TOPEKA KS 66614


          PATSY FORTENBACHER
          536 RANCH ROAD
          MUSKEGON MI 49441


          PRIORITY HEALTH
          3915 MOMENTUM PLACE
          CHICAGO IL 60689


          PRIORITY HEALTH
          1231 E. BELTLINE NE
          GRAND RAPIDS MI 49525


          PRODUCTION TOOL SUPPLY
          4782- 44TH STREET SE
          GRAND RAPIDS MI 49512


          PROFESSIONAL BUILDING SERVICES
          PO BOX 111
          FRANKENMUTH MI 48734


          PYROTEK, INC-USA
          PO BOX 203024
          DALLAS TX 75320
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          QUALITY DOOR OF MUSKEGON, INC.
          2481 VAN OMMEN DRIVE
          HOLLAND MI 49424


          QUALITY SPECTROMETER SERVICES
          4017 WASHINGTON ROAD
          PMB 108
          MCMURRAY PA 15317


          R & L CARRIERS
          PO BOX 271
          WILMINGTON OH 45177-0271


          RESOURCE RECOVERY CORPORATION
          15220 68TH AVE
          COOPERSVILLE MI 49404


          SHORELINE METAL FABRICATORS
          1880 PARK STREET
          MUSKEGON MI 49441


          SOLVE METROLOGY, LLC
          2940 44TH STREET, SUITE 1
          GRANDVILLE MI 49418


          SPINDLE GRINDING SERVICE, INC.
          PO BOX 128
          ALBION MI 49224


          SPRING LAKE ACE HARDWARE
          605 WHITEHALL ROAD
          N. MUSKEGON MI 49445


          STAR TRUCK RENTALS, INC.
          2580 BLACK CREEK ROAD
          MUSKEGON MI 49444


          STATE OF MICHIGAN
          DEPT. OF TREASURY
          PO BOX 30754
          LANSING MI 48909
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          STEVE BYLENGA, ESQ.
          25 DIVISION AVE S.
          STE. 500
          GRAND RAPIDS MI 49503


          SUN DOWN SHEET METAL
          5677 AIRLINE ROAD
          FRUITPORT MI 49415


          TNB, L.L.C.
          536 RANCH ROAD
          MUSKEGON MI 49441


          TUTTLE MANUFACTURING
          1032 W. NORTHWEST HWY
          BARRINGTON IL 60010


          ULINE
          PO BOX 88741
          CHICAGO IL 60680


          UPS
          PO BOX 809488
          CHICAGO IL 60680


          VILLAGE OF SPRING LAKE
          WATER/SEWER SERVICES
          102 W. SAVIDGE STREET
          SPRING LAKE MI 49456


          WASTE MANAGEMENT
          800 CAPITAL STREET, STE. 3000
          HOUSTON TX 77002


          WEBER GRINDING CO.
          18438 171ST AVE
          SPRING LAKE MI 49456


          ZION MACHINE & MFG, LLC
          16673 148TH AVE, SUITE 2
          SPRING LAKE MI 49456


          ZORO TOOLS, INC.
          909 ASBURY DRIVE
          BUFFALO GROVE IL 60089
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                                         United States Bankruptcy Court
                                              Western District of Michigan
 In re   Turbo Components, Inc.                                                     Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Turbo Components, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 28, 2023                                 /s/ A. Todd Almassian
Date                                           A. Todd Almassian P55467
                                               Signature of Attorney or Litigant
                                               Counsel for Turbo Components, Inc.
                                               Keller & Almassian, PLC
                                               230 East Fulton
                                               Grand Rapids, MI 49503
                                               616-364-2100 Fax:616-364-2200
                                               ecf@kalawgr.com
